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Grimes, Celina A.

From:                              Shannon, Joseph
Sent:                              Friday, April 11, 2025 12:02 PM
To:                                Grimes, Celina A.
Subject:                           FW: Email confirmation of intent to Pay accumulated Tariffs
Attachments:                       image011.png; image009.png; image001.png; image961098.png; image698986.png;
                                   image485454.png; image202631.png; image435166.png; image614164.png;
                                   image013.png; image014.png; image015.png; image016.png; image017.png;
                                   image018.png; Cumulative Tariff Cost and New Pricing.pdf




Joseph J. Shannon
313-393-7549
JShannon@BODMANLAW.COM


bodman
   ATTORNEYS & COUNSELORS




From: Bowen, Gene <GBowen@BODMANLAW.COM>
Sent: Tuesday, April 8, 2025 4:27 PM
To: Shannon, Joseph <JShannon@BODMANLAW.COM>
Subject: FW: Email confirmation of intent to Pay accumulated Tariffs




Gene P. Bowen
201 W. Big Beaver | Suite 500 | Troy MI 48084
o: 248-743-6067 | GBowen@BODMANLAW.COM

| Bio | vCard |   binclusive




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From: Jim Reder <jreder@jacprod.com>
Sent: Friday, April 4, 2025 6:17 PM

                                                              1                                           EXHIBIT 5
      Case 2:25-cv-11070-BRM-DRG ECF No. 2-6, PageID.121 Filed 04/14/25 Page 2 of 11
To: Bowen, Gene <GBowen@BODMANLAW.COM>
Subject: Fwd: Email confirmation of intent to Pay accumulated Tariffs

CAUTION: External Sender.




                                       Jim Reder
                                       Vice President, Purchasing
                                       Corporate Office
                                           248-229-3436 |        248-229-3436
                                          jreder@jacprod.com |          www.jacproducts.com
                                          3937 Campus Drive | Pontiac, MI       48341 | United States

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        From: Mark Schulte <mark.schulte@pangeo.com>
        Date: April 4, 2025 at 5:54:18 PM EDT
        To: Jim Reder <jreder@jacprod.com>
        Cc: Eduardo Cano <ecano@jacprod.com>, Lisa Liu <lliu@jacprod.com>, Carlos DaSilva
        <carlos.dasilva@pangeo.com>
        Subject: Re: Email confirmation of intent to Pay accumulated Tariffs



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        Jim,

        I was able to meet with Pangeo management this afternoon and reviewed your e-mail with
        them.

        Pangeo does to agree to the changes to our offer that you suggest in your email below.
        Our offer stands as I provided it on March 13, 2025. (see attached).

        Pangeo will resume shipping when we receive new P.O.s for the product that JAC has
        released for Wednesday, April 9, 2025.

        If JAC chooses the lower Ex works option (referred to as "Prices per FOB GTA" in your chart
        below), JAC must arrange for and pay for Transit and Tariffs directly. Under this new

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agreement, Pangeo will not participate going forward in any split due to tariffs. This is the
benefit to Pangeo for the extreme savings JAC will gain from our proposal.

The other option is for the P.O.s to be issued at the higher DDP pricing arrangement (see
attached) that we currently use.

These P.O.s must not be retroactively dated for the lower priced Ex works option.

Regarding the accumulated costs:

On February 14th, Pangeo raised this concern, in writing, to JAC Purchasing advising of the
growing tariff deficit and anticipated total based on a very reasonable March 31, 2025
dead line.

At that writing the accumulated total was S11,481.44 and the anticipated total was
$46,509.47 based on JAC forecasts if left to grow to the deadline. This has now reached
$62,000 after our in-good-faith shipment of Wednesday, April 2nd.

Since our first letter was issued about two weeks after the first tariff increase, Pangeo will
agree to a 50/50 split for that and take responsibility for $5,740.72. Any additional
accumulation after that is due to JAC not responding to the situation and is not Pangeo
responsibility.

This payment must be secured prior to the next shipment of parts.

Lastly, regarding any suggested action by JAC for Pangeo to pursue US Customs to recoup
any previously assessed tariffs, this is believed to be an unethical practice that Pangeo
cannot take part in.

I look forward to your response and our future successes together,

Mark


Mark Schulte
www.pangeo.com

Sales Manager

Pangeo Group

3000 Temple Drive

Windsor, ON N8W 5J6

c: (248) 459-2454



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From: Mark Schulte <mark.schulte@pangeo.com>
Sent: Friday, April 4, 2025 11:00 AM
To: Jim Reder <jreder@jacprod.com>
Cc: Eduardo Cano <ecano@jacprod.com>; Lisa Liu <lliu@jacprod.com>
Subject: Re: Email confirmation of intent to Pay accumulated Tariffs

Hi Jim,
I received this and will be meeting with my management this afternoon to review it.

Mark

From: Jim Reder <jreder@jacprod.com>
Sent: Friday, April 4, 2025 8:57 AM
To: Mark Schulte <mark.schulte@pangeo.com>
Cc: Eduardo Cano <ecano@jacprod.com>; Lisa Liu <lliu@jacprod.com>
Subject: RE: Email confirmation of intent to Pay accumulated Tariffs


Hello Mark,

Thanks for the discussion yesterday. Again, we are committed to getting new PO’s in place to
Pangeo on a go-forward basis… we need to have that in place before the next shipment needs to
leave Pangeo Canada.

Summary of our discussion:
Topic One – tariffs already paid by Pangeo in February, March and April.

      JAC will issue PO’s to Pangeo @ the FOB price retroactive to Feb 1, in order to put Pangeo in
       a position to recover some of the tariff “overpaid” on the “January 2025 DDP” price. We
       know it’s a tough task, but Pangeo needs to try to get that recovery going.
           o The offer from JAC is still on the table to split the tariffs paid from Feb 1- April 2, but
               Pangeo must do its part to fix the pricing/tariffs paid to US customs and reclaim as
               much tariff paid (overpayment) as possible. This will only reduce the amount that
               JAC and Pangeo will split, according the agreement. (50/50 on tariffs).

Topic Two
    On a go-forward basis, JAC and Pangeo agree to align on the following:
          o We will continue follow the guidelines in the agreement:
                 However, JAC will update its PO’s to Pangeo to reflect the FOB prices listed
                    below, “ASAP”. (see blue arrow)
                 Pangeo will remain the importer of record and ship to JAC Franklin. (JAC will
                    investigate updated freight costs with our 3PL, in order ensure lowest cost
                    freight). JAC will either reimburse Pangeo as we do today, or see if JAC can
                    be billed by our 3PL. Either way, this is cost neutral to Pangeo.
                 JAC and Pangeo would agree to a separate monthly invoice to compensate
                    Pangeo for the tariffs that it would pay, based on quantities received at JAC
                    Franklin.

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                  Assuming that the tariffs remain at 48%, JAC and Pangeo agree to ensure
                   that Pangeo would be compensated in full equivalent to the price per piece
                   in the column with the green arrow below.
                  If further tariffs come into play (or reduce), we will follow the agreement and
                   adjust accordingly – splitting the tariffs above 28%.




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               Jim Reder
               Vice President, Purchasing
               Corporate Office




      248-229-3436 |




248-229-3436




     jreder@jacprod.com |




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   From: Mark Schulte <mark.schulte@pangeo.com>
   Sent: Thursday, April 3, 2025 11:05 AM
   To: Jim Reder <jreder@jacprod.com>
   Cc: Lisa Liu <lliu@jacprod.com>; Megan Yinger <mschatzle@jacprod.com>; Eduardo Cano
   <ecano@jacprod.com>; Carlos DaSilva <carlos.dasilva@pangeo.com>; Stephen Han
   <stephen.han@pangeo.com>
   Subject: Re: Email confirmation of intent to Pay accumulated Tariffs

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   Jim,
   I do not follow your logic, Let us discuss at 4:30 today.
   Mark



   From: Jim Reder
   Sent: Thursday, April 3, 2025 9:56 AM
   To: Mark Schulte
   Cc: Lisa Liu; Megan Yinger; Eduardo Cano; Carlos DaSilva; Stephen Han
   Subject: RE: Email confirmation of intent to Pay accumulated Tariffs

   Mark,
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   We will issue Pangeo PO’s that are retroactive to Feb 1 at the lower cost, so you can recover the
   “extra” amount. This will significantly reduce the impact.

   Regards,

   Jim




               Jim Reder
               Vice President, Purchasing
               Corporate Office




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      3436




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3436




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   From: Mark Schulte <mark.schulte@pangeo.com>
   Sent: Thursday, April 3, 2025 9:28 AM
   To: Jim Reder <jreder@jacprod.com>
   Cc: Lisa Liu <lliu@jacprod.com>; Megan Yinger <mschatzle@jacprod.com>; Eduardo Cano
   <ecano@jacprod.com>; Carlos DaSilva <carlos.dasilva@pangeo.com>; Stephen Han
   <stephen.han@pangeo.com>
   Subject: Re: Email confirmation of intent to Pay accumulated Tariffs

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   Hello Jim,

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 Thank you for your timely response.

 I would like to clarify that Pangeo is not satisfied with the 50/50 split of the $52,800
 because Pangeo provided a cost reduction plan several weeks ago that would have
 mitigated this amount greatly had it been acted upon earlier.

 With your acknowledgement to work to an understanding on this, we did ship the Releases
 for this week yesterday and look forward to closing on this topic this week.


 Mark

 Mark Schulte
 www.pangeo.com
 Sales Manager
 Pangeo Group
 3000 Temple Drive
 Windsor, ON N8W 5J6
 c: (248) 459-2454




 From: Jim Reder
 Sent: Wednesday, April 2, 2025 11:24 AM
 To: Mark Schulte
 Cc: Lisa Liu; Megan Yinger; Eduardo Cano
 Subject: RE: Email confirmation of intent to Pay accumulated Tariffs

 Hello Mark,

 Per our discussion, JAC agrees to work with Pangeo to honor the agreement we have in place, back
 to the implementation of the 2025 tariffs.

 If there are ways to reduce the total amount, JAC and Pangeo agree to pursue those options to
 make a win-win. At the moment, JAC and Pangeo would agree (per the agreement) to split the $52K
 amount that we discussed today.

 JAC will work to come back to Pangeo with a way forward – targeting the end of this week.

 Regards,

 Jim




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                           Jim Reder
                           Vice President, Purchasing
                           Corporate Office
       <image013.png>      <image 014.png >                    <image 015.png >




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                           <image 016.png >
                                               3436              3436             <image 017.png >




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       From: Mark Schulte <mark.schulte@pangeo.com>
       Sent: Wednesday, April 2, 2025 11:16 AM
       To: Jim Reder <jreder@jacprod.com>
       Subject: Email confirmation of intent to Pay accumulated Tariffs


You don't often get email from mark.schulte@pangeo.com. Learn why this is important

       Caution: This email originated from outside JAC Products. Do not click links or open
       attachments unless you recognize the sender and believe the content is safe.
       Hi Jim,

       Please provide me the email as agreed to.
       As discussed, I need this to keep shipments moving.

       Mark

       Mark Schulte
       www.pangeo.com
       Sales Manager
       Pangeo Group
       3000 Temple Drive
       Windsor, ON N8W 5J6
       c: (248) 459-2454




                                                                                                     11
